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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 AMY HAMM,                                                        CIVIL ACTION
     Plaintiff

 VERSUS                                                           NO. 20-1515

 ACADIA HEALTHCARE CO., INC., ET AL.,                             SECTION: “E” (3)
     Defendants


                               ORDER AND REASONS

        Before the Court is a motion for distribution of notice pursuant to the Fair Labor

Standards Act by Plaintiff Amy Hamm.1 Defendants Acadia Laplace Holdings and

Oschner-Acadia oppose,2 and Plaintiff filed a reply.3 For the reasons that follow, the

motion is GRANTED IN PART AND DENIED IN PART. The Collective shall be

certified, but the Court will not equitably toll the statute of limitations. Counsel are

ordered to confer regarding the proposed notice and consent forms.

                                    I.     Background

        Amy Hamm was a nurse supervisor at Red River Hospital in Wichita Falls, Texas,

for roughly eight years. She then served as a nurse supervisor at River Place Behavioral

Health in LaPlace, Louisiana for an additional eight months.4 At both of these locations,

she alleges, the parent companies (who are the defendants in this lawsuit) violated the

Fair Labor Standards Act (“FLSA”) and various state laws by failing to compensate nurses

and other staff for work done during off-the-clock meal breaks.5 She states that



1 R. Doc. 101.
2 R. Doc. 113.
3 R. Doc. 120.
4 R. Doc. 101-1 at 3-4.
5 See R. Doc. 69.




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Defendants “employ a payroll policy and practice of not compensating hourly-paid nurses

for work performed during their meal periods, subjecting them to interruptions and

requiring them to remain on duty during those unpaid meal periods.”6 She seeks to have

this action certified as a collective action to be brought on behalf of similarly situated

employees who she claims have suffered from this same policy.7

         Initially, Plaintiff sought to have the Court apply the Lusardi standard for

certification of a collective action.8 However, as the Fifth Circuit has rejected the Lusardi

standard,9 the Court denied the motion for conditional certification and authorized

preliminary discovery as to certain relevant details, as detailed below.10 That discovery

having been concluded, Plaintiff brings this present motion, seeking to have a collective

defined as follows:

         All current and former hourly, non-exempt employees involved with patient
         care, including but not limited to nurses, nursing staff, nursing assistants,
         nurse aides, technicians, clerks, nonexempt therapists, or other non-exempt
         employees with similar job duties employed at any facility owned/operated
         by Defendants during the time period three years prior to the filing of the
         original Complaint until resolution of this action (the “Collective”).11

Plaintiff contends Hamm and the putative collective members are similarly situated and

the case should proceed as a collective action. Additionally, Plaintiff seeks equitable

tolling for the opt-in plaintiffs “as a result of the delay preventing Plaintiff from seeking

to distribute notice earlier in the case.”12 Finally, Hamm provides potential notice forms

and asks the Court to approve them.



6 R. Doc. 69 at 7.
7 R. Doc. 101.
8 R. Doc. 79.
9 See Swales v. KLLM Transp. Servs., L.L.C., 985 F.3d 430 (5th Cir. 2021).
10 See R. Doc. 85.
11 R. Doc. 101-1 at 2.
12 R. Doc. 101-1 at 20.




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                                                II.       Law

        Under binding Fifth Circuit precedent, “a district court should identify, at the

outset of the case, what facts and legal considerations will be material to determining

whether a group of ‘employees’ is ‘similarly situated.’ And then it should authorize

preliminary discovery accordingly.”13 In compliance with this dictate, this Court

authorized discovery as to the following items:

        Categories of all direct patient care employees (such as registered nurses,
        licensed practical nurses, aides, medical technicians, medical assistants,
        therapists, and the like) who are paid on an hourly basis; Time keeping and
        time reporting policies and procedures for each category; Lunch and other
        break policies and procedures for each category; Policies and procedures for
        compensating employees whose lunch or other breaks are interrupted by
        work duties; Ethical codes and policies applicable to each category requiring
        employees to remain on-duty to attend to any patient care needs that may
        arise during break time; and Policies and procedures requiring pre-
        approval of overtime for each category and disciplinary actions for failure
        to comply.14

Those having been provided by Defendants to the Plaintiff and this Court, the Court can

proceed with its duty to “rigorously scrutinize the realm of ‘similarly situated’ workers.”15

        To determine whether Plaintiff has met her burden of showing the putative

collective action members are similarly situated, the Court will consider three factors: “(1)

disparate factual and employment settings of the individual plaintiffs; (2) the various

defenses available to defendant which appear to be individual to each plaintiff; [and] (3)

fairness and procedural considerations.”16 “‘Several courts have held that putative class




13 Swales, 985 F.3d at 441.
14 R. Doc. 85 at 8.
15 Swales, 985 F.3d at 434.
16 Badon v. Berry’s Reliable Res., LLC, No. 19-12317 c/w No. 20-584, 2021 WL 933033, at *3 (E.D. La. Mar.

11, 2021) (alteration in original) (quoting Thiessen v. Gen. Elec. Capital Corp., 267 F.3d 1095, 1103 (10th
Cir. 2001)); see also Torres v. Chambers Protective Servs., Inc., No. 20-CV-212-H, 2021 WL 3419705, at
*3 (N.D. Tex. Aug. 5, 2021) (citing Segovia v. Fuelo Energy L.L.C., No. SA-17-CV-1246-JKP, 2021 WL
2187956, at *7 (W.D. Tex. May 28, 2021)).


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members must show they were affected by a common policy, plan, pattern or practice’ to

meet the similarly situated requirement.”17 “The key consideration is that to be ‘similarly

situated,’ there must be ‘substantial allegations that potential members “were together

the victims of a single decision, policy, or plan.”’”18 “[G]eographic commonality is not

necessary to meet the ‘similarly situated’ requirement for a FLSA collective action; instead

the focus is on whether the employees were impacted by a common policy.”19

        The fact that members of the putative collective class work in different facilities or

have different job titles does not preclude a finding that they are similarly situated.20 In

Torres v. Chambers Protective Services, Inc., the United States District Court for the

Northern District of Texas held the fact that the employees “have different supervisors,

work on different teams, have some varying job duties, and work in different locations”

did not prevent a finding that they were similarly situated.21 The court reasoned “these

differences are separate from the alleged unlawful practice—failure to pay overtime

wages”—because “none of these differences diminish [the plaintiff’s] evidence” of the

alleged unlawful practice.22 Similarly, in Loy v. Rehab Synergies, LLC, the United States

District Court for the Southern District of Texas held the fact that the purported collective

action members “‘worked in five different job titles, reporting to different managers at

different facilities at different times within the last six years;’ worked different schedules;

[and] had different ‘productivity requirements’” did not preclude a finding they were



17 Loy v. Rehab Synergies, LLC, No. 7:18-cv-00004, 2021 WL 3931926, at *8 (S.D. Tex. Sept. 2, 2021)

(quoting Falcon v. Starbucks Corp., 580 F. Supp. 2d 528, 535-36 (S.D. Tex. 2008)).
18 Caballero v. Kelly Servs., Inc., No. H–14–1828, 2015 WL 12732863, at *3 (S.D. Tex. Oct. 5, 2015) (quoting

McKnight v. D. Hous., Inc., 756 F. Supp. 2d 794, 801 (S.D. Tex. 2010)).
19 Loy, 2021 WL 3931926, at *8 (quoting Vargas v. Richardson Trident Co., No. H–09–1674, 2010 WL

730155, at *6 (S.D. Tex. Feb. 22, 2010)).
20 See, e.g., Torres, 2021 WL 3419705, at *6; Loy, 2021 WL 3931926, at *11.
21 Torres, 2021 WL 3419705, at *6.
22 Id.




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similarly situated because these differences were “not material to the merits questions in

this case.”23

                                              III.     Analysis

    A.       Viability of the Claim

         Plaintiff submits that hourly, non-exempt employees of Acadia involved in patient

care were all subject to a common and violative policy whereby their meal breaks were

subject to interruption at any time and were therefore “predominantly or primarily for

the benefit of the employer.”24 The Court need not make any determination on the merits

of this claim today; “the sole consequence of conditional certification is the sending of

court-approved written notice to employees.”25 However, as Defendants note, the Court

must ensure that Plaintiff can demonstrate the relevant policy could have “result[ed] in

an FLSA violation.”26 The Fifth Circuit has held employees who “were available to handle

any conditions that might arise” during a meal break may be said to have been

“performing services” for their employer “even when their meal breaks were not

interrupted,” and therefore a policy by which employees’ meal breaks were unpaid

violated the FLSA.27 Defendants retort that their policies provide “[i]f it becomes

necessary for employees to remain on duty during their meal breaks or if they are called

back to work by management, employees will be paid for the entire meal break.”28 This,

however, does not address the issue – the remaining claim, as the Court sees it, is not that

Plaintiff was subject to unpaid time after interruption but that all meal breaks are subject



23 Loy, 2021 WL 3931926, at *11 (footnote omitted) (internal quotation marks omitted).
24 Bernard v. Ibp, Inc., 154 F.3d 259, 265 (5th Cir. 1998).
25 Genesis HealthCare Corp. v. Symczyk, 569 U.S. 66, 75 (2013).
26 Hubbard v. Gen. Dynamics Info. Tech., Inc., 2019 U.S. Dist. LEXIS 110431, *23 (S.D. Miss. July 2, 2019).
27 Bernard, 154 F.3d at 266.
28 R. Doc. 101-5 at 2.




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to possible interruption and therefore to be considered “on-duty” time. The policy

provides: “[a] meal break may be interrupted by management when it is necessary for

employees to return to work.”29 Further, defendants admit, “in emergency situations …, a

nurse has an ethical duty [to] respond if another provider is not available to provide the

needed services, even when on a break.”30 The Court does not here determine that

Acadia’s policies are in violation of the FLSA, but the claim is certainly viable enough to

survive this stage of inquiry.31

    B.       “Similarly Situated” Analysis

         Plaintiff claims the proposed collective is comprised of “similarly situated”

individuals because all individuals included in the proposed collective “provide direct

patient care services” and are “required to abide by and adhere to River Place’s human

resources policies and Code of Conduct,” which together enshrine the allegedly offensive

policies.32 There is no dispute that the policies in question apply equally to each member

of the proposed collective.33 Instead, Defendants contend Hamm is not similarly situated

to the other potential members of the collective because she was a supervisor at River

Place.34 They also submit that Hamm’s apparent inability to find any other River Place




29 R. Doc. 101-5 at 3.
30 R. Doc. 101-16 at 6.
31 In Plaintiff’s initial deposition testimony, she testified that she did not believe herself to be “on-duty”

during her breaks at River Place. In an errata sheet that became the subject of much consternation, see R.
Doc. 119, Plaintiff modified this testimony. The Court has accepted her modified testimony and so need not
address this issue here.
32 R. Doc. 101-1 at 13.
33 The Court notes Defendants’ suggestion that “involved with patient care” is too vague a description of job

duties for this proposed collective. See R. Doc. 113 at 7. As such, the Court will add “directly” to the certified
collective prior to that phrase. The Court also notes that this appears to have been Plaintiff’s intent in
presenting the definition. See R. Doc. 120 at 7 n.13 (“the collective Plaintiff seeks to send notice to is limited
to those workers with direct patient-care duties”).
34 R. Doc. 113 at 7-9.




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employees to join this lawsuit demonstrates that she is not similarly situated to the

proposed collective.35 The Court considers each of these arguments in turn.

         First, Defendants submit that, as supervisor, Hamm was responsible for enforcing

the very policies she now complains about. In her deposition, Hamm testified that: as a

supervisor, she was responsible for making sure people got meal breaks,36 she was

responsible for ensuring that employees followed timekeeping policies,37 and she was not

aware of any issues with not being paid for overtime or being told to work off the clock at

River Place.38 None of this testimony approaches the ultimate issue. Hamm’s meal break

was as susceptible to interruption as those of her supervisees; the claim here concerns

unpaid meal breaks – whether or not they were interrupted – rather than unpaid overtime

as such. Hamm likewise testified her general inability to take a meal break was because

she was a supervisor, and that other nursing staff were generally unaffected by that

issue.39 It remains an open question whether or not breaks were so subject to interruption

as to be violative of the FLSA, and this testimony may be probative in that discussion. It

does not, however, demonstrate that meal breaks of non-supervisors were never

interrupted. In fact, the declarations Defendants provide demonstrate that meal breaks

were subject to interruption, albeit infrequently.40 “Similarly situated does not mean




35 R. Doc. 113 at 9.
36 R. Doc. 113-1 at 6.
37 R. Doc. 113-1 at 28.
38 R. Doc. 113-1 at 28-29.
39 R. Doc. 113-1 at 35.
40 See R. Doc. 113-2 at 3 (“On a few rare occasions, I have either been unable to take a meal break or have

had my meal break interrupted to perform emergency work duties.”), R. Doc. 113-4 at 3 (“When I did take
a meal break, it was very rare that my meal break was interrupted to perform emergency work duties.”),
and R. Doc. 113-5 at 3 (“On very rare occasions my meal break is interrupted to perform emergency work
duties.”).


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identically situated.”41 Hamm and her supervisees were subject to the same possibility of

break interruption. They were therefore similarly situated.

        Alternatively, Defendants claim that the “notable absence of a single other patient

care employee at River Place supporting or willing to join this lawsuit shows that Plaintiff

is not similarly situated with her proposed collective.”42 In support of this claim, they cite

several district court decisions – one in which it was held that certification was

unwarranted where the Plaintiff “failed to identify any other potential plaintiffs, failed to

obtain affidavits from any potential plaintiffs, and failed to provide evidentiary support

for the existence of a widespread plan or policy,”43 another in which the Court held that

“Plaintiffs' inability to procure affidavits from potential opt-in plaintiffs strongly suggests

that there is no class of similarly situated Lease Supervisors managers/operators who are

willing to participate in this collective action,”44 and one more, strongest of all, which

states that “[a]ffidavits asserting that other potential plaintiffs wish to opt into the lawsuit

are a nearly universal prerequisite to notice and conditional certification of an FLSA

collective action.”45 As Plaintiff notes, however, Hamm’s employment at River Place

ended nearly two years ago, so she has not been able to remain in contact with other

potential members of the collective. Further, in light of the new Swales standard, the

Court denied Hamm’s request to receive contact information for potential collective

members.46 As a result, the Court does not find the lack of any supporting affidavits to be

determinative.


41 Crain v. Helmerich & Payne Int'l Drilling Co., 1992 U.S. Dist. LEXIS 5367, *4 (E.D. La. April 16, 1992)

(citations omitted).
42 R. Doc. 113 at 9.
43 Farrow v. Ammari of La., Ltd., 2016 U.S. Dist. LEXIS 69299, *7 (E.D. La. May 25, 2016).
44 Mallory v. Lease Supervisors, LLC, 2018 U.S. Dist. LEXIS 114106, *8 (E.D. La. July 10, 2018).
45 Mason v. Amarillo Plastic Fabricators, 2015 U.S. Dist. LEXIS 95624, *10 (N.D. Tex. July 22, 2015).
46 R. Doc. 85 at 9.




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    C.      Equitable Tolling

         A cause of action under the FLSA “may be commenced within two years after the

cause of action accrued, and every such action shall be forever barred unless commenced

within two years after the cause of action accrued, except that a cause of action arising out

of a willful violation may be commenced within three years after the cause of action

accrued.”47 An action is commenced for the purposes of calculating the statute of

limitations when the complaint is filed.48 In a collective action, however, this holds true

only for named plaintiffs who also file their written consent to become a party plaintiff on

that date.49 For named plaintiffs who do not file their written consent when the complaint

is filed or for opt-in plaintiffs, the action is commenced “on the subsequent date on which

such written consent is filed in the court in which the action was commenced.”50

         The Fifth Circuit has adopted a strict view of the FLSA's limitations period, stating

“[w]e cannot alter the express terms of the statute.”51 However, principles of equitable

tolling apply to cases brought under the FLSA because “the doctrine . . . is ‘read into every

federal statute of limitations.’”52 “The doctrine of equitable tolling preserves a plaintiff's

claims when strict application of the statute of limitations would be inequitable.”53

“Equitable tolling applies only in rare and exceptional circumstances,” and courts most

frequently grant requests for equitable tolling “where the plaintiff is actively misled by the

defendant about the cause of action or is prevented in some extraordinary way from


47 29 U.S.C. § 255(a).
48 29 U.S.C. § 256.
49 Id.
50 Id.
51 Atkins v. Gen. Motors Corp., 701 F.2d 1124, 1130 n.5 (5th Cir. 1983).
52 Israel Antonio-Morales v. Bimbo's Best Produce, Inc., No. 08-5105, 2009 U.S. Dist. LEXIS 51833, at *1

(E.D. La. Apr. 20, 2009) (quoting Holmberg v. Armbrecht, 327 U.S. 392, 397, 66 S. Ct. 582, 90 L. Ed. 743
(1946)).
53 United States v. Patterson, 211 F.3d 927, 930 (5th Cir. 2000) (internal quotation marks and citation

omitted).


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asserting his rights.”54 Courts also grant this remedy when, “despite all due diligence, a

plaintiff is unable to discover essential information bearing on the existence of his

claim.”55 The party invoking equitable tolling bears the burden of justifying the need for

equitable tolling of the limitations period,56 but the decision to ultimately invoke

equitable tolling in a particular instance is left to the discretion of the district court,

subject to appellate review only for abuse of discretion.57

        The Plaintiff asserts that equitable tolling is justified because of the “extraordinary

circumstances” attendant to the various delays attached to the litigation of this claim,

including delays related to the motion to dismiss on jurisdictional grounds, the

continuations of the preliminary conferences, the amendment of the complaint, and the

delays associated with the process according to Swales. Because of these delays, Plaintiff

submits, “[p]atient care workers have been unable to receive notice of their rights to assert

their claims and have therefore been prevented from asserting their rights in this

lawsuit.”58 As this Court has previously noted, however, “delays in certifying a class do

not present extraordinary circumstances justifying equitable tolling.”59 The policies on

which the claim in this suit are based are known to every potential class member and there

is no reason to believe that any putative member has been actually prevented from

asserting their rights in this lawsuit or any other. The Court will not toll the statute of

limitations for opt-in plaintiffs.


54 Teemac v. Henderson, 298 F.3d 452, 457 (5th Cir. 2002) (internal quotation marks and citations

omitted).
55 Pacheco v. Rice, 966 F.2d 904, 906-07 (5th Cir. 1992).
56 See Mejia, 2014 U.S. Dist. LEXIS 107363, 2014 WL 3853580, at *1; Wilson v. Sec'y, Dep't of Veterans

Affairs on Behalf of Veterans Canteen Servs., 65 F.3d 402, 404 (5th Cir. 1995), as amended on denial of
reh'g (Nov. 1, 1995); Conaway v. Control Data Corp., 955 F.2d 358, 362 (5th Cir. 1992).
57 Teemac, 298 F.3d at 456.
58 R. Doc. 101-1 at 21.
59 White v. Integrated Elec. Techs., Inc., 2015 U.S. Dist. LEXIS 90529, *9 (E.D. La. July 13, 2015) (collecting

cases).


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   D.      Proposed Notice Forms

        Defendants request, in the event the Court grants this motion, they be granted 14

days to confer with Plaintiff regarding their objections to the proposed notice form. As

Plaintiff agrees to this proposal, the Court adopts it as its own. The parties are urged to

discuss the language in good faith.

                                       IV.   Conclusion

        Accordingly, IT IS ORDERED that the motion for distribution of notice is

GRANTED IN PART AND DENIED IN PART. The collective shall be certified

according to the following definition:

        All current and former hourly, non-exempt employees directly involved with
        patient care, including but not limited to nurses, nursing staff, nursing assistants,
        nurse aides, technicians, clerks, nonexempt therapists, or other non-exempt
        employees with similar job duties employed at any facility owned/operated by
        Defendants during the time period three years prior to the filing of the original
        Complaint until resolution of this action (the “Collective”).

        IT IS FURTHER ORDERED that Plaintiff’s request for equitable tolling is

DENIED.

        IT IS FURTHER ORDERED that counsel for each side shall meet and confer

regarding the notice and consent forms. Within fourteen (14) days from the issuance of

this order, the parties must either agree upon notice language or Defendants shall filed

objections and a competing notice form. Plaintiffs will have an additional seven (7) days

from any objections or competing notice form filed with this Court to seek leave to reply

in support of their proposed notice.

        New Orleans, Louisiana, this 13th day of July, 2022.


                                             ______ ____________ _________
                                                     SUSIE MORGAN
                                              UNITED STATES DISTRICT JUDGE


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